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                                   UNITED STATES DISTRICT COURT
                                    DISTRICT OF MASSACHUSETTS



    UNITED STATES OF AMERICA

      v.                                                              No. 1:19-CR-10080-NMG

    GREGORY COLBURN et al.,

                      Defendants


                                      DEFENDANTS’ WITNESS LIST

           Defendants Gamal Abdelaziz and John Wilson submit the following additional list of

potential witnesses. This updated list supplements Defendants’ witness list submitted on July 16,

2021 (Dkt. 1955). Defendants state that, in addition to the below witnesses, they may call any of

the witnesses listed on the government’s witness list (Dkt. 1924). Defendants reserve the right to

supplement this list further with reasonable notice to the government and to call additional

rebuttal witnesses not identified herein. 1

            Name                                                     Entity / Location

            Bradshaw, Kelsey                                         USC

            McAlpine, Kedaine                                        USC



    Dated: September 14, 2021                               Respectfully submitted,

                                                            /s/ Brian T. Kelly
                                                            Brian T. Kelly (BBO # 549566)
                                                            Joshua C. Sharp (BBO # 681439)

1
  Defendants relied upon the government’s witness and exhibits list produced on June 25, 2021 in preparing their
witness and exhibit lists, and anticipate that the government will call all of the witnesses on its witness list. Should
the government fail to call one of the witnesses on its list, Defendants specifically reserve the right to call that
individual and supplement their witness and exhibit lists accordingly.

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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was filed electronically on September 14,
2021, and thereby delivered by electronic means to all registered participants as identified on
the Notice of Electronic Filing.



                                                           /s/ Joshua C. Sharp
                                                           Joshua C. Sharp




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